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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                       4:24CR3012

       vs.
                                                                         ORDER
TIMOTHY H. MAISNER,

                      Defendant.


       Defendant has moved to continue the status conference (Filing No. 30), because defense
counsel is not available during the current conference setting. The motion to continue is
unopposed. Based on the showing set forth in the motion, the court finds good cause has been
shown and the motion should be granted. Accordingly,
       IT IS ORDERED:

       1)     Defendant’s Motion to Continue, (Filing No. 30), is granted.

       2)     The telephonic conference with counsel previously scheduled to be held on May
              29, 2024 is continued and will be held before the undersigned magistrate judge at
              9:30 a.m. on May 31, 2024 to discuss setting any change of plea hearing or the
              date of the jury trial. Counsel for all parties shall use the conferencing instructions
              provided by the court to participate in the call.

       3)     In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
              justice will be served by granting this continuance and outweigh the interests of
              the public and the defendant in a speedy trial. Any additional time arising as a
              result of the granting of this motion, that is, the time between today’s date and
              May 31, 2024, shall be deemed excludable time in any computation of time under
              the requirement of the Speedy Trial Act. Failure to grant a continuance would deny
              counsel the reasonable time necessary for effective preparation, taking into
              account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv). Failing
              to timely object to this order as provided under this court’s local rules will be
              deemed a waiver of any right to later claim the time should not have been excluded
              under the Speedy Trial Act.

       Dated this 24th day of May, 2024.

                                                     BY THE COURT:

                                                     s/ Jacqueline M. DeLuca
                                                     United States Magistrate Judge
